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                                1 MARTIN F. TRIANO, ESQ. (SBN 098272)
                                2 MARK D. BYRNE, ESQ. (SBN 109268)
                                    LAW OFFICES OF TRIANO & BYRNE
                                3
                                    25 Jessie Street, 16th Floor
                                4   San Francisco, CA 94105
                                5   Telephone: (415) 371-8000
                                6
                                    Fax: (415) 371-8001
                                    Email: marty@trianobyrne.com
                                7           mark@trianobyrne.com
                                8
                                9 Attorneys for Defendant METAQUOTES SOFTWARE CORP
                           10
                                                                      UNITED STATES DISTRICT COURT
                           11                                        CENTRAL DISTRICT OF CALIFORNIA
                           12                                              SOUTHERN DIVISION
                           13
                                                                                                               )    CASE NO.: SACV12 – 1448 AG
                           14           WILLIAM WILBER et al.,                                                 )    (JPRX)
                           15                                                                                  )
                           16                            Plaintiffs,                                           )    DEFENDANT METAQUOTES
                                                v.                                                             )    SOFTWARE CORP.’S
                           17
                                                                                                               )    AMENDED ANSWER TO
                           18           TOP GLOBAL CAPITAL, INC. et al.                                        )    PLAINTIFFS’ FIRST
                           19                                                                                  )    AMENDED COMPLAINT
                           20                            Defendants.                                           )
                                                                                                               )
                           21                                                                                  )
                           22                                                                                  )
                           23                                                                                  )
                                                                                                               )
                           24
                                                                                                               )
                           25                                                                                  )
                           26
                           27
                           28

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San Francisco, CA 94105
   Tel. (415) 371-8000                                                COMPLAINT
   Fax (415) 371-8001

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                                1                                                             I. ANSWER
                                2             Defendant Metaquotes Software Corp (“MSC”) answers the allegations
                                3
                                    made by Plaintiffs in their First Amended Complaint (“FAC”) as follows:
                                4
                                                                             JURISDICTION AND VENUE
                                5
                                6
                                              1.        MSC admits the allegation in paragraph 1 that this Court has subject
                                7 matter jurisdiction over this matter pursuant to 28 U.S.C. §1332, in so far as the
                                8 matter involves parties of diverse citizenship and the amount in controversy
                            9 exceeds $75,000.
                           10
                                              2.        MSC admits the allegation in paragraph 2 that this Court has
                           11
                                    supplemental jurisdiction over the non-federal claims asserted herein under 28
                           12
                           13
                                    U.S.C. §1367.
                           14                 3.        MSC admits the allegation in paragraph 3 that this Court has personal
                           15 jurisdiction over MSC because MSC has appeared on this matter and has submitted
                           16 itself to this Court’s jurisdiction.
                           17
                                              4.        MSC admits the allegation in paragraph 4 that venue in this District is
                           18
                                    proper pursuant to 28 U.S.C. §1391(g).
                           19
                           20                                                           THE PLAINTIFFS
                           21                 5.        MSC lacks knowledge or information sufficient to form a belief as to
                           22 the truth or falsity of each and every allegation in paragraph 5 of this proceeding
                           23 and therefore denies the same.
                           24
                                              6.        MSC lacks knowledge or information sufficient to form a belief as to
                           25
                                    the truth or falsity of each and every allegation in paragraph 6 of this proceeding
                           26
                           27
                                    and therefore denies the same.
                           28 //

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San Francisco, CA 94105
   Tel. (415) 371-8000                                                COMPLAINT
   Fax (415) 371-8001

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                                1             7.        MSC lacks knowledge or information sufficient to form a belief as to
                                2 the truth or falsity of each and every allegation in paragraph 7 of this proceeding
                                3
                                    and therefore denies the same.
                                4
                                              8.        MSC lacks knowledge or information sufficient to form a belief as to
                                5
                                6
                                    the truth or falsity of each and every allegation in paragraph 8 of this proceeding
                                7 and therefore denies the same.
                                8             9.        MSC lacks knowledge or information sufficient to form a belief as to
                            9 the truth or falsity of each and every allegation in paragraph 9 of this proceeding
                           10
                                    and therefore denies the same.
                           11
                                              10.       MSC lacks knowledge or information sufficient to form a belief as to
                           12
                           13
                                    the truth or falsity of each and every allegation in paragraph 10 of this proceeding
                           14 and therefore denies the same.
                           15                 11.       MSC lacks knowledge or information sufficient to form a belief as to
                           16 the truth or falsity of each and every allegation in paragraph 11 of this proceeding
                           17
                                    and therefore denies the same.
                           18
                                              12.       MSC lacks knowledge or information sufficient to form a belief as to
                           19
                           20
                                    the truth or falsity of each and every allegation in paragraph 12 of this proceeding
                           21 and therefore denies the same.
                           22                 13.       MSC lacks knowledge or information sufficient to form a belief as to
                           23 the truth or falsity of each and every allegation in paragraph 13 of this proceeding
                           24
                                    and therefore denies the same.
                           25
                                              14.       MSC lacks knowledge or information sufficient to form a belief as to
                           26
                           27
                                    the truth or falsity of each and every allegation in paragraph 14 of this proceeding
                           28 and therefore denies the same.

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                                1                                                  OTHER DEFENDANTS
                                2             15.       MSC admits that Defendant, Melody Phan (“Phan”), signed the
                                3
                                    Licensing Agreement with MSC for the use of the software, MetaTrader 4, on
                                4
                                    behalf of Wal Capital S.A. as the Chief Executive Officer (“CEO”) of Wal Capital
                                5
                                6
                                    S.A. on or about May 27, 2010. MSC lacks knowledge or information sufficient to
                                7 form a belief as to the truth or falsity of the allegation that Phan was, at all times
                                8 relevant to this proceeding, a control person and principal of either Wal Capital
                            9 S.A. before the Licensing Agreement with MSC or any time thereafter. MSC
                           10
                                    denies ever dealing with Wal Capital LLC. MSC admits Phan is currently a
                           11
                                    subject of an enforcement action instituted by the CFTC before this Court, No. 14-
                           12
                           13
                                    cv-00283. MSC admits that Phan defaulted in this proceeding. MSC lacks
                           14 knowledge or information sufficient to form a belief as to the truth or falsity of
                           15 each and every other allegation in paragraph 15 of this proceeding and therefore
                           16 denies the same.
                           17
                                              16.       MSC admits that Marc Wallack (“Wallack”) has defaulted in this
                           18
                                    proceeding. MSC lacks knowledge or information sufficient to form a belief as to
                           19
                           20
                                    the truth or falsity of each and every other allegation in paragraph 16 of this
                           21 proceeding and therefore denies the same.
                           22                 17.       MSC admits that Coldwell Ltd (“Coldwell”) has defaulted in this
                           23 proceeding. MSC lacks knowledge or information sufficient to form a belief as to
                           24
                                    the truth or falsity of each and every other allegation in paragraph 17 of this
                           25
                                    proceeding and therefore denies the same.
                           26
                           27
                                              18.       MSC admits that Top Global Capital, Inc. (“TGC”) has defaulted in
                           28 this proceeding. MSC lacks knowledge or information sufficient to form a belief
                                    as to the truth or falsity of each and every other allegation in paragraph 18 of this
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TRIANO & BYRNE                      ___________________________________________________________________________________________________________________________________________
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   Fax (415) 371-8001

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                                1
                                2 proceeding and therefore denies the same.
                                3
                                              19.       MSC admits that Wal Capital, LLC (“Wal USA”) has defaulted in this
                                4
                                    proceeding. MSC lacks knowledge or information sufficient to form a belief as to
                                5
                                6
                                    the truth or falsity of each and every other allegation in paragraph 19 of this
                                7 proceeding and therefore denies the same.
                                8             20.       MSC admits that Wal Capital Costa Rica (“Wal Capital”) has
                            9 defaulted in this proceeding. MSC lacks knowledge or information sufficient to
                           10
                                    form a belief as to the truth or falsity of each and every other allegation in
                           11
                                    paragraph 20 of this proceeding and therefore denies the same.
                           12
                           13
                                              21.       MSC admits that My Forex Planet has defaulted in this proceeding.
                           14 MSC lacks knowledge or information sufficient to form a belief as to the truth or
                           15 falsity of each and every other allegation in paragraph 21 of this proceeding and
                           16 therefore denies the same.
                           17
                                              22.       MSC admits that CTN Systems Corp. (“CTN”) and Morris
                           18
                                    Moskowitz have defaulted in this proceeding. MSC lacks knowledge or
                           19
                           20
                                    information sufficient to form a belief as to the truth or falsity of each and every
                           21 other allegation in paragraph 22 of this proceeding and therefore denies the same.
                           22                                                          DEFENDANT MSC
                           23                 23.       MSC admits that it is a corporation in the Bahamas. MSC denies that
                           24
                                    MSC’s primary offices are in Cyprus. MSC denies that it ever provided any
                           25
                                    services whatsoever to Wal USA. The only agreement that MSC entered into was
                           26
                           27
                                    with Wal Capital. MSC lacks knowledge or information sufficient to form a belief
                           28 as to the truth or falsity of each and every other allegation in paragraph 23.
                                    ///
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                                1
                                2                                            BRIEF SUMMARYOF FACTS
                                3
                                              24.       MSC denies entering into any agreement to provide the MetaTrader 4
                                4
                                    software to Wal USA. MSC denies that MSC had any knowledge of any “red
                                5
                                6
                                    flags,” relating to the Wal Capital, SA. MSC denies that Wal Capital was
                                7 accepting investments from people in the United States, and that Wal Capital was
                                8 supposed to be registered under the CEA. MSC lacks sufficient knowledge or
                            9 information to determine whether it should have known that Wal Capital was
                           10
                                    operating in the United States, that Wal Capital was accepting investments from
                           11
                                    people in the United States, and that Wal Capital was supposed to be registered
                           12
                           13
                                    under the CEA; and therefore, denies this allegation. MSC denies that it conducts
                           14 business illicitly in the United States. MSC lacks knowledge or information
                           15 sufficient to form a belief as to every other allegation in paragraph 24 in this
                           16 proceeding and therefore denies the same.
                           17
                                                                      AMENDED STATEMENT OF FACTS
                           18
                                              25.       MSC admits that the Amended Statement of Facts in the FAC
                           19
                           20
                                    supersedes and replaces the Statement of Facts in prior Pleadings as to MSC as
                           21 alleged by Plaintiffs.
                           22                 26.       MSC lacks knowledge or information sufficient to form a belief as to
                           23 the truth or falsity of each and every allegation in paragraph 26 in this proceeding
                           24
                                    and therefore denies the same.
                           25
                                              27.       MSC lacks knowledge or information sufficient to form a belief as to
                           26
                           27
                                    the truth or falsity of each and every allegation in paragraph 27 in this proceeding
                           28 and therefore denies the same.
                                    ///
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                                1             28.       MSC lacks knowledge or information sufficient to form a belief as to
                                2 the truth or falsity of each and every allegation in paragraph 28 in this proceeding
                                3
                                    and therefore denies the same.
                                4
                                              29.       MSC lacks knowledge or information sufficient to form a belief as to
                                5
                                6
                                    the truth or falsity of each and every allegation in paragraph 29 in this proceeding
                                7 and therefore denies the same.
                                8             30.       MSC lacks knowledge or information sufficient to form a belief as to
                            9 the truth or falsity of each and every allegation in paragraph 30 in this proceeding
                           10
                                    and therefore denies the same.
                           11
                                              31.       MSC lacks knowledge or information sufficient to form a belief as to
                           12
                           13
                                    the truth or falsity of each and every allegation in paragraph 31 in this proceeding
                           14 and therefore denies the same.
                           15                 32.       MSC lacks knowledge or information sufficient to form a belief as to
                           16 the truth or falsity of each and every allegation in paragraph 32 in this proceeding
                           17
                                    and therefore denies the same.
                           18
                                              33.       MSC lacks knowledge or information sufficient to form a belief as to
                           19
                           20
                                    the truth or falsity of each and every allegation in paragraph 33 in this proceeding
                           21 and therefore denies the same.
                           22                 34.       MSC lacks knowledge or information sufficient to form a belief as to
                           23 the truth or falsity of each and every allegation in paragraph 34 in this proceeding
                           24
                                    and therefore denies the same.
                           25
                                              35.       MSC lacks knowledge or information sufficient to form a belief as to
                           26
                           27
                                    the truth or falsity of each and every allegation in paragraph 35 in this proceeding
                           28 and therefore denies the same.

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                                1             36.       MSC lacks knowledge or information sufficient to form a belief as to
                                2 the truth or falsity of each and every allegation in paragraph 36 in this proceeding
                                3
                                    and therefore denies the same.
                                4
                                              37.       MSC lacks knowledge or information sufficient to form a belief as to
                                5
                                6
                                    the truth or falsity of each and every allegation in paragraph 37 in this proceeding
                                7 and therefore denies the same.
                                8             38.       MSC lacks knowledge or information sufficient to form a belief as to
                            9 the truth or falsity of each and every allegation in paragraph 38 in this proceeding
                           10
                                    and therefore denies the same.
                           11
                                              39.       MSC denies the allegation in paragraph 39 that MSC would receive a
                           12
                           13
                                    commission in the form of a “pip” for the trades executed on behalf of either Wal
                           14 Capital or Wal USA. MSC did not and does not receive any commission for a
                           15 trade executed on its software. MSC lacks knowledge or information sufficient to
                           16 form a belief as to the truth or falsity of each and every other allegation in
                           17
                                    paragraph 39 in this proceeding and therefore denies the same. MSC denies
                           18
                                    making any representations to Plaintiffs as alleged in paragraph 39.
                           19
                           20
                                              40.          MSC denies each and every allegation in paragraph 40 in this
                           21 proceeding.
                           22                 41.       MSC lacks knowledge or information sufficient to form a belief as to
                           23 the truth or falsity of the allegation in paragraph 41 regarding either Wal Capital’s
                           24
                                    or Wal USA’s conduct. MSC denies the allegation in paragraph 41 that it was
                           25
                                    conducting business in the United States with the other currency trading firms
                           26
                           27
                                    while not being authorized to transact business in the State of California or any
                           28 other State at the time it chose to conduct business with Wal Capital. MSC never

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San Francisco, CA 94105
   Tel. (415) 371-8000                                                COMPLAINT
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                                1   conducted business with Wal USA. Upon information and belief based on MSC’s
                                2 current investigation on the matter, MSC is not required to obtain a Tax
                                3
                                    Identification Number nor file Federal or State Tax Returns.
                                4
                                              42.       MSC denies each and every allegation in paragraph 42 in this
                                5
                                6
                                    proceeding as to MSC. MSC lacks knowledge or information sufficient to form a
                                7 belief as to the truth or falsity of the allegation in paragraph 42 regarding either
                                8 Wal Capital or Wal USA.
                                9             43.       MSC denies the allegation in paragraph 43 that it ever received
                           10
                                    commissions and fees in the form of “pips” for all currency trades conducted on
                           11
                                    behalf of either Wal Capital or Wal USA at any time. The only fees MSC received
                           12
                           13
                                    were the license fee and technical support fee from Wal Capital. MSC never
                           14 received any commissions from either Wal Capital or Wal USA. MSC denies the
                           15 allegation in paragraph 43 that all trades executed on behalf of either Wal Capital
                           16 or Wal USA on which MSC earned “pips” were made in violation of the
                           17
                                    registration provisions of the CEA. MSC lacks knowledge or information
                           18
                                    sufficient to form a belief as to the truth of falsity of the allegation in paragraph 43
                           19
                           20
                                    that both Wal Capital and Wal USA were neither registered nor exempt from
                           21 registration under the CEA.
                           22                 44.       MSC lacks knowledge or information sufficient to form a belief as to
                           23 the truth or falsity of allegation in paragraph 44 that in December 2010, the Wal
                           24
                                    Capital scheme hit a roadblock. MSC lacks knowledge or information sufficient to
                           25
                                    form a belief as to the truth or falsity of the allegation in paragraph 44 that on or
                           26
                           27
                                    about December 9, 2010, Swiss financial regulators “blacklisted” either Wal
                           28 Capital or Wal USA. MSC denies the allegation in paragraph 44 that MSC could

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                                1 no longer lawfully transact business with Wal Capital. MSC never conducted
                                2 business with Wal USA. MSC denies the allegation that MSC received any
                                3
                                    portion of the funds allegedly lost by Plaintiffs in currency trading as commissions
                                4
                                    in the form of “pips.”
                                5
                                6                                                   CAUSES OF ACTION
                                7             45.       The causes of action for Negligence, Breach of Contract,
                                8 Conversion/Aiding and Abetting Conversion, and Unjust Enrichment against MSC
                            9 have all been dismissed by this Court and Plaintiffs did not amend these causes of
                           10
                                    action. The only remaining cause of action against MSC is Aiding/Abetting
                           11
                                    Violations of the CEA.
                           12
                           13                                                           I. NEGLIGENCE
                           14                                                                (against MSC)
                           15                 46.       MSC’s admits, denies, or lacks knowledge or information to form a
                           16 belief as to the truth or falsity of the allegation in the previous paragraphs 1
                           17
                                    through 44 of this Answer in response to Plaintiffs’ FAC paragraphs 1 through 44.
                           18
                                    Paragraphs 46 through 50 of the FAC, specifically the incorporation paragraphs,
                           19
                           20
                                    are moot because the cause of action for Negligence against MSC has been
                           21 dismissed by this Court and Plaintiffs did not amend. The only remaining cause of
                           22 action is the Aiding/Abetting Violations of the CEA.
                           23                                                II. BREACH OF CONTRACT
                           24
                                                                                             (against MSC)
                           25
                                              47.       MSC’s admits, denies, or lacks knowledge or information to form a
                           26
                           27
                                    belief as to the truth or falsity of the allegation in the previous paragraphs 1
                           28 through 44 of this Answer in response to Plaintiffs’ FAC paragraphs 1 through 44.

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San Francisco, CA 94105
   Tel. (415) 371-8000                                                COMPLAINT
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                                1 Paragraphs 46 through 50 of the FAC and paragraphs 51 through 53 of the FAC,
                                2 specifically the incorporation paragraphs, are moot because the causes of action for
                                3
                                    Negligence and Breach of Contract against MSC have been dismissed by this
                                4
                                    Court and Plaintiffs did not amend. The only remaining cause of action is the
                                5
                                6
                                    Aiding/Abetting Violations of the CEA.
                                7              III. CONVERSION/AIDING AND ABETTING CONVERSION
                                8                                                           (against MSC)
                                9             48.       MSC’s admits, denies, or lacks knowledge or information to form a
                           10
                                    belief as to the truth or falsity of the allegation in the previous paragraphs 1
                           11
                                    through 44 of this Answer in response to Plaintiffs’ FAC paragraphs 1 through 44.
                           12
                           13
                                    MSC denies that Phan and Wallack were agents or apparent agents of MSC at any
                           14 point in time. MSC never authorized Phan or Wallack to be MSC’s agent or
                           15 representative. Paragraphs 46 through 53 of the FAC and paragraphs 54 through
                           16 57 of the FAC are moot because the causes of action for Negligence, Breach of
                           17
                                    Contract, and Conversion/Aiding and Abetting Conversion against MSC have been
                           18
                                    dismissed by this Court and Plaintiffs did not amend. The only remaining cause of
                           19
                           20
                                    action is the Aiding/Abetting Violations of the CEA.
                           21              IV. AIDING/ABETTING VIOLATIONS OF THE COMMODITIES
                           22                                             EXCHANGE ACT (against MSC)
                           23                 49.       MSC’s admits, denies, or lacks knowledge or information to form a
                           24
                                    belief as to the truth or falsity of the allegation in the previous paragraphs 1
                           25
                                    through 44 of this Answer in response to Plaintiffs’ FAC paragraphs 1 through 44.
                           26
                           27
                                    Paragraphs 46 through 57 of the FAC are moot because the causes of action for
                           28 Negligence, Breach of Contract, and Conversion/Aiding and Abetting Conversion

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25 Jessie Street, 16 th Floor            DEFENDANT METAQUOTES SOFTWARE CORP’S ANSWER TO PLAINTIFFS’ FIRST AMENDED
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   Tel. (415) 371-8000                                                COMPLAINT
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                                1 against MSC have been dismissed by this Court and Plaintiffs did not amend. The
                                2 only remaining cause of action is the Aiding/Abetting Violations of the CEA.
                                3
                                              50.       Plaintiffs quote correctly Section 22(a)(1) and Section 25(a) of the
                                4
                                    CEA in paragraph 58 of the FAC. There are no facts alleged by Plaintiffs in
                                5
                                6
                                    paragraph 58.
                                7             51.       MSC denies all allegations in paragraph 59 of the FAC that MSC
                                8 aided and abetted Phan, Wallack, Wal USA, and Wal Capital in their respectively
                            9 wrongful conduct in violations of the CEA. MSC admits solely to licensing Wal
                           10
                                    Capital for the use of the MetaTrader 4 software for a limited period of time. MSC
                           11
                                    denies any license with Phan, Wallack, and Wal USA. MSC lacks knowledge or
                           12
                           13
                                    information to form a belief as to the truth or falsity of the allegations of the
                           14 wrongful conduct Phan, Wallack, Wal Capital, and Wal USA alleged in paragraph
                           15 59 of the FAC and therefore denies the same.
                           16                                                   V. UNJUST ENRICHMENT
                           17
                                                                                             (against MSC)
                           18
                                    52. MSC’s admits, denies, or lacks knowledge or information to form a belief as
                           19
                           20
                                    to the truth or falsity of the allegation in the previous paragraphs 1 through 44 of
                           21       this Answer in response to Plaintiffs’ FAC paragraphs 1 through 44. Paragraphs
                           22       46 through 57 and paragraphs 60 through 62 of the FAC are moot because the
                           23       causes of action for Negligence, Breach of Contract, Conversion/Aiding and
                           24
                                    Abetting Conversion, and Unjust Enrichment against MSC have been dismissed
                           25
                                    by this Court and Plaintiffs did not amend. The only remaining cause of action is
                           26
                           27
                                    the Aiding/Abetting Violations of the CEA.
                           28       ///

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25 Jessie Street, 16 th Floor             DEFENDANT METAQUOTES SOFTWARE CORP’S ANSWER TO PLAINTIFFS’ FIRST AMENDED
San Francisco, CA 94105
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                                1                                           II. AFFIRMATIVE DEFENSES
                                2                                                 First Affirmative Defense
                                3
                                              1.        Plaintiffs’ claims against MSC are barred in whole or in part because
                                4
                                    they fail to state a claim upon which relief can be granted pursuant to Federal
                                5
                                6
                                    Rules of Civil Procedure (“FRCP”) § 12(b)(6).
                                7                                               Second Affirmative Defense
                                8             2.        Plaintiffs’ claims against MSC are barred in whole or in part because
                            9 they fail to state a claim upon which relief can be granted pursuant to FRCP
                           10
                                    §12(b)(1) because Plaintiffs do not fall into any of the categories of persons that
                           11
                                    may bring a private cause of action under 7 U.S.C. §25(a)(1)(A)-(D). Those that
                           12
                           13
                                    may bring a private cause of action under 7 U.S.C. §25 are the following:
                           14
                           15                           “…(A) who received trading advice from such person for a fee;
                           16                           (B) who made through such person any contract of sale of commodity
                           17
                                                        for future delivery (or option on such contract or any commodity) or
                           18
                                                        any swap; or who deposited with or paid such person money,
                           19
                           20
                                                        securities, or property (or incurred debt in lieu thereof) in connection
                           21                           with any order to make such contract or any swap;
                           22                           (C) who purchased from or sold to such person or placed through such
                           23                           person an order for the purchase or sale— (i) an option subject to
                           24
                                                        section 6c of this title (other than an option purchase or sold on a
                           25
                                                        registered entity or other board of trade); (ii) a contract subject to
                           26
                           27
                                                        section 23 of this title; …(iii) an interest or participation in
                           28                           commodity pool; or (iv) a swap; or

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                                1                       (D) who purchased or sold a contract referred to in subparagraph
                                2                       (B)…”
                                3
                                                                                 Third Affirmative Defense
                                4
                                              3.        Plaintiffs’ claims against MSC are barred in whole or in part because
                                5
                                6
                                    they fail to state a claim upon which relief can be granted pursuant to FRCP
                                7 §12(b)(6) because Plaintiffs lack standing. Plaintiffs did not: (A) receive trading
                                8 advice from MSC or anybody else for a fee; (B) make through MSC or anybody
                            9 else any contract of sale of a commodity or any swap; or who deposited with or
                           10
                                    paid such person money, securities, or property (incurred debt in lieu thereof) in
                           11
                                    connection with any order to make such contract or any swap; (C) purchase from
                           12
                           13
                                    or sold to MSC or anybody else or placed through MSC or anybody else an order
                           14 for purchase or sale; or (D) purchase or sold a contract. Any of the foregoing
                           15 actions, if any occurred, were by Wal Capital as alleged by Plaintiffs.
                           16                                                   Fourth Affirmative Defense
                           17
                                              4.        Plaintiffs’ claims against MSC are barred in whole or in part because
                           18
                                    pursuant to 7 U.S.C. §25(c) the Statute of Limitations for Aiding/Abetting
                           19
                           20
                                    Violations of the CEA of two (2) years has lapsed.
                           21                                                    Fifth Affirmative Defense
                           22                 5.        Plaintiffs’ claims against MSC are barred in whole or in part because
                           23 the underlying alleged principal, Wal Capital, has not been judicially determined
                           24
                                    on the merits to have violated the CEA.
                           25
                                                                                  Sixth Affirmative Defense
                           26
                           27
                                              6.        Plaintiffs’ claims against MSC are barred in whole or in part because
                           28 of Doctrine of Laches.

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                                1                                              Seventh Affirmative Defense
                                2             7.        Plaintiffs’ claims against MSC are barred in whole or in part because
                                3
                                    there is no privity between MSC and Wal USA, or contract for the license of
                                4
                                    MetaTrader 4, or no privity between MSC and Plaintiffs as individuals. MSC’s
                                5
                                6
                                    contract for the license of MetaTrader 4 was with Wal Capital.
                                7                                               Eighth Affirmative Defense
                                8             8.        Plaintiffs’ claims against MSC are barred in whole or in part because
                            9 of Plaintiffs’ own conduct, such as but not limited to, by not investigating their
                           10
                                    investment vehicles such as Wal Capital or investigating Phan’s background in
                           11
                                    investments.
                           12
                           13                                                    Ninth Affirmative Defense
                           14                 9.        Plaintiffs’ claims against MSC are barred in whole or in part because
                           15 the conduct of others was the proximate cause of Plaintiffs’ damages, if any. MSC
                           16 licensed Wal Capital. Wal USA, Phan, and others were never authorized by MSC
                           17
                                    to advise or make representations to Plaintiffs in anything, such as but not limited
                           18
                                    to investments and how the business was operated. On MSC’s information and
                           19
                           20
                                    belief, MSC was merely the licensor of software utilized by Wal Capital or other
                           21 third parties to make trades. The software is licensed to Wal Capital, not Wal
                           22 USA. Wal Capital actively made investment decisions and Phan orchestrated the
                           23 scheme that Plaintiffs have described.
                           24
                                                                                 Tenth Affirmative Defense
                           25
                                              10.       Plaintiffs’ claims against MSC are barred in whole or in part because
                           26
                           27
                                    of Plaintiffs’ lack of due diligence, including but not limited to taking actions
                           28 before investigating a FOREX broker, before investigating Phan, and before

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                                1 investigating Wal Capital or Wal USA, prior to obtaining shares or a membership
                                2 in Wal Capital or Wal USA.
                                3
                                                                               Eleventh Affirmative Defense
                                4
                                              11.       Should Plaintiffs recover damages from MSC, MSC is entitled to
                                5
                                6
                                    equitable indemnification, either in whole or in part, from all other Defendants that
                                7 may have contributed to Plaintiffs’ damages, if any exist.
                                8                                              Twelfth Affirmative Defense
                                9             12.       Should Plaintiffs recover damages from MSC, MSC is entitled to
                           10
                                    implied indemnification, either in whole or in part, from all other Defendants that
                           11
                                    may have contributed to Plaintiffs’ damages, if any exist. Pursuant to the Tort of
                           12
                           13
                                    Another Doctrine, MSC is entitled to their attorneys’ fees for having to defend this
                           14 action.
                           15                                                Thirteenth Affirmative Defense
                           16                 13.       Plaintiffs’ claims against MSC are barred in whole or in part because
                           17
                                    pursuant to the License Agreement executed between MSC and Wal Capital and
                           18
                                    that Wal Capital transferred the License to Apex, MSC is “not liable for any legal
                           19
                           20
                                    actions or claims of the Licensee’s customers arising from relations between the
                           21 Licensee and its customers, relating to the operation of the System …” From the
                           22 FAC, Plaintiffs alleged that Wal Capital was formed to handle Plaintiffs’ pooled
                           23 investment and Plaintiffs are customers of Wal Capital.
                           24
                                                                            Fourteenth Affirmative Defense
                           25
                                              14.       Because Plaintiffs have alleged that attorney’s fees are awardable for
                           26
                           27
                                    Breach of Contract claim which has now been dismissed, MSC is entitled to their
                           28 attorneys’ fees as a recoverable cost.

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                                1                                             Fifteenth Affirmative Defense
                                2             15.       Plaintiffs are not entitled to damages because the cause of action of
                                3
                                    Aiding/Abetting Violations of the CEA belongs to Wal Capital since Plaintiffs are
                                4
                                    merely shareholders of Wal Capital. From the FAC, Plaintiffs alleged all trades
                                5
                                6
                                    were done by Wal Capital. Pursuant to 7 U.S.C. §25(a), a valid private cause of
                                7 action for Aiding/Abetting Violations of the CEA will only subject the Defendant
                                8 to liability for actual damages. Plaintiffs did not suffer actual damages. Plaintiffs
                            9 alleged damages to Wal Capital but failed to allege damages suffered by the
                           10
                                    Plaintiffs individually or collectively. The alleged damages, if any, were allegedly
                           11
                                    suffered by Wal Capital. Therefore, the individual Plaintiffs do not have standing
                           12
                           13
                                    to bring this cause of action.
                           14
                           15 ///
                           16 ///
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                                    ///
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                                1                                                          CONCLUSION
                                2 WHEREFORE, Defendant METAQUOTES SOFTWARE CORP prays for
                                3
                                    judgment as follows:
                                4
                                        1. That Plaintiffs are not entitled to any relief as to the only remaining cause of
                                5
                                6
                                    action, Aiding/Abetting Violations of the CEA, against MSC;
                                7      2. That MSC be dismissed from this case and awarded attorneys’ fees and costs
                                8 incurred herein; and
                                9      3. For such other and further relief as the Court may deem just and proper.
                           10
                           11
                                    Dated: December 30, 2014                                        Respectfully submitted,
                           12
                           13                                                                       LAW OFFICES OF TRIANO & BYRNE
                           14
                           15
                           16
                           17
                                                                                         By:              /s/ Mark D. Byrne
                           18
                                                                                                MARK D. BYRNE, ESQ.
                           19
                           20
                                                                                                Of Counsel
                           21                                                                  Attorney for Defendant,
                           22                                                                   METAQUOTES SOFTWARE CORP
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25 Jessie Street, 16 th Floor            DEFENDANT METAQUOTES SOFTWARE CORP’S ANSWER TO PLAINTIFFS’ FIRST AMENDED
San Francisco, CA 94105
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